           Case 2:03-cr-00147-FCD Document 129 Filed 05/23/08 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   KENNETH J. MELIKIAN
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, Ca. 95814
 4   Telephone: (916) 554-2700
 5
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,      )        CR. NO. S-03-0147 FCD
                                    )
12                  Plaintiff,      )
                                    )        STIPULATION AND ORDER
13        v.                        )
                                    )
14   LUIS DELGADO,                  )
                                    )
15                                  )
                    Defendant.      )
16   _______________________________)
17       Defendant Luis Delgado, through Scott Tedmon, Attorney At
18   Law, and the United States of America, through Assistant U.S.
19   Attorney Kenneth J. Melikian, agree to vacate the status
20   conference scheduled for May 27, 2008.       The parties further
21   stipulate that a status conference be placed on the court’s July
22   14, 2008, calendar.
23        This is an old multi-defendant case in which the defendant
24   recently made his initial appearance.       The case is closed as to
25   all other defendants.    The discovery has been located, but it is
26   contained in forty-three boxes.
27        Defense counsel and the government need time to examine this
28   discovery.   It is hoped that the parties will be able to do so by

                                         1
           Case 2:03-cr-00147-FCD Document 129 Filed 05/23/08 Page 2 of 2


 1   July 14, 2008, though it is possible that even more time may be
 2   needed to review this voluminous discovery.
 3        Accordingly, the parties request that the status conference
 4   in this case be continued to July 14, 2008.        All parties agree
 5   that time should be excluded through July 14, 2008, from
 6   computation under the Speedy Trial Act pursuant to local code T4
 7   (18 U.S.C. § 3161(h)(8)(B)(iv)) so that the discovery can be
 8   obtained, thus affording the defendant reasonable time to prepare
 9   his case.
10   DATED: May 23, 2008                 Respectfully submitted,
11                                       McGREGOR W. SCOTT
                                         United States Attorney
12
                                         /s/ Kenneth J. Melikian
13
                                         By
14                                         KENNETH J. MELIKIAN
                                         Assistant U.S. Attorney
15
16   DATED: May 23, 2008                 /s/ Kenneth J. Melikian ______
                                         SCOTT TEDMON
17                                      Attorney for Defendant Luis
                                         Delgado
18                                       (Signed by Kenneth J. Melikian
                                         per authorization by Scott
19                                        Tedmon)
20
21
22
23       IT IS SO ORDERED.
24
25   DATED: May 23, 2008
                                        _______________________________________
26                                      FRANK C. DAMRELL, JR.
                                        UNITED STATES DISTRICT JUDGE
27
28




                                         2
